10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25

26

 

Case 2:02-cv-00081-FCD-JFM Document12 Filed 04/25/03 Page 1 of 2

FILED

APR 2 5 2003

CLERK, U.8, DISTAL

T
EASTERN DISTRICT OF CALLORNIA
ay

 

United States District Court

Eastern District of California

Michael Anthony,
Petitioner, No. Civ. S 02-0081 FCD PAN P
vs. Order
Gail Lewis, Warden, et al.,
Respondents.
-o00-
On April 16, 2003 respondent requested an extension of time to
respond to petitioner’s application for writ of habeas corpus.

Good cause appearing, respondent’s request is granted and time to

   

respond is extended until 30 dayg fo e of this order.

/

So ordered.

Dated: APR24 2003 -

 

‘peter AN Nowinski
Magistrate Judge

G: \DOCS\NOW\ DNOW1\PRISONER\anth0081.111.wpd

\a—

 
Case 2:02-cv-00081-FCD-JFM Document 12 Filed 04/25/03 Page 2 afrd1
United States District Court
for the
Eastern District of California
April 25, 2003

* * CERTIFICATE OF SERVICE * *

2:02-cv-00081

Anthony
Vv.

Lewis

 

I, the undersigned, hereby certify that I am an employee in the Office of
the Clerk, U.S. District Court, Eastern District of California.

That on April 25, 2003, I SERVED a true and correct copy(ies) of

the attached, by placing said copy(ies) in a postage paid envelope
addressed to the person(s) hereinafter listed, by depositing said
envelope in the U.S. Mail, by placing said copy(ies) into an inter-office
delivery receptacle located in the Clerk’s office, or, pursuant to prior
authorization by counsel, via facsimile.

Michael Anthony TM / PAN
J-12891 PVSP-1

Pleasant Valley State Prison

P O Box 8504

Coalinga, CA 93210

Constance L Picciano
Attorney General’s Office

1300 I Street, Suite 125
Sacramento, CA 94244-2550

Jack L. Wagner, Clerk

BY:

 

o>
Deputy Clerk
